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               11         VITALY IVANOVICH SMAGIN
               12
                                                        UNITED STATES DISTRICT COURT
               13
                                                       CENTRAL DISTRICT OF CALIFORNIA
               14
                                                             WESTERN DIVISION
               15
               16         VITALY IVANOVICH SMAGIN,                     Case No. 2:17-cv-6126
               17                         Plaintiff,                    COMPLAINT FOR RECOVERY
                                                                        OF FRAUDULENT
               18                 v.                                    CONVEYANCE
               19         ASHOT YEGIAZARYAN a/k/a ASHOT
                          EGIAZARYAN; CTX TREUHAND AG
               20         as Trustee for the ALPHA TRUST,
               21                         Defendants.
               22
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                 1                 Plaintiff Vitaly Ivanovich Smagin (“Mr. Smagin”), by his attorneys, Baker &
                 2        McKenzie LLP, hereby files this Complaint for Recovery of Fraudulent Conveyance
                 3        against Defendants Ashot Yegiazaryan, a/k/a Ashot Egiazaryan (“Mr. Yegiazaryan”),
                 4        and CTX TREUHAND AG, as Trustee for the ALPHA TRUST (“CTX” and
                 5        collectively with Mr. Yegiazaryan, “Defendants”) and in support alleges as follows:
                 6                                            INTRODUCTION
                 7                 1.     This Complaint arises out of Mr. Yegiazaryan’s fraudulent scheme to
                 8        destroy Mr. Smagin’s ability to enforce a confirmed arbitral award (the “London
                 9        Award”) and this Court’s judgment against him dated March 31, 2016 in the amount
               10         of $92,503,652 (the “Judgment”).1 A true and correct copy of the Judgment is
               11         attached hereto as Exhibit A.
               12                  2.     While Mr. Yegiazaryan’s asset concealment has been going on for years,
               13         this particular action focuses on his June 2015 transfer of more than $188 million into
               14         a newly formed Lichtenstein trust (the “Alpha Trust”) just days after he received the
               15         funds. Mr. Yegiazaryan made this transfer more than six months after the London
               16         Award ordered him to pay Mr. Smagin over $84 million and more than five months
               17         after Mr. Smagin filed an action in this Court to confirm the London Award under the
               18         New York Convention.2
               19                  3.     Mr. Yegiazaryan’s receipt of this money and its immediate transfer to the
               20         Alpha Trust in Lichtenstein was not mere happenstance. Mr. Yegiazaryan received
               21         the money in settlement of an unrelated arbitration which Mr. Smagin discovered and
               22         made this Court aware (the “Kerimov Settlement”). Indeed, before Mr. Yegiazaryan
               23         received the Kerimov Settlement funds, Mr. Smagin successfully obtained from this
               24         Court a TRO, and later a preliminary injunction, specifically referencing the proceeds
               25         from the Kerimov Settlement and recognizing that they were the most likely source of
               26
                          1
               27          Vitaly Ivanovich Smagin v. Ashot Yegiazaryan, Case No. 2:14-cv-09764-R-PLA
                          (C.D. Cal.).
               28         2
                              9 U.S.C. §§ 201 et. seq.
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                 1        recovery for Mr. Smagin. In fact, pursuant to this Court’s order, those proceeds were
                 2        to be frozen for Mr. Smagin’s benefit the moment they entered California (which they
                 3        regrettably did not). Mr. Yegiazaryan’s subsequent receipt of the funds and decision
                 4        to transfer the proceeds to the Alpha Trust in Lichtenstein was a calculated decision to
                 5        circumvent this Court’s order and thereby to destroy Mr. Smagin’s right to recovery.
                 6                4.      The circumstances unequivocally demonstrate that Mr. Yegiazaryan’s
                 7        transfer was made with the specific intent to prevent Mr. Smagin from recovering on
                 8        the London Award (which is now a Judgment of this Court) while unjustly enriching
                 9        Defendants. This fraudulent transfer should be avoided to put Mr. Yegiazaryan’s
               10         scheming to an end, and so that Mr. Smagin can finally recover the tens of millions he
               11         has long been owed.
               12                                                 PARTIES
               13                 5.      Mr. Smagin is an individual Russian citizen and businessman residing at
               14         Krasnoproletarskaya St., h. 9, 127006, Moscow, Russia. Mr. Smagin is the successful
               15         claimant in the arbitration before the London Court of International Arbitration giving
               16         rise to the London Award against Mr. Yegiazaryan and the judgment creditor pursuant
               17         to the $92,503,652 Judgment entered by this Court against Mr. Yegiazaryan on March
               18         31, 2016. See Exhibit A.
               19                 6.      Defendant Ashot Yegiazaryan, a/k/a Ashot Egiazaryan, is a Russian
               20         national currently residing at 655 Endrino Place, Beverly Hills, California 90201. He
               21         was the respondent in the arbitration giving rise to the London Award and is now a
               22         judgment debtor pursuant to this Court’s Judgment as a result of a successful petition
               23         to confirm that award in this Court.
               24                 7.      Defendant CTX Treuhand AG is a stock corporation organized under the
               25         laws of Liechtenstein with its registered office at 9490 Vaduz, Lova-Center. CTX
               26         acts as the sole trustee of the Alpha Trust, a trusteeship which was set up on May 27,
               27         2015 under the laws of Liechtenstein and has been registered in the Liechtenstein
               28
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                 1        commercial register under registration number FL-0002.510.7711 since November 30,
                 2        2015.
                 3                                     JURISDICTION AND VENUE
                 4                8.      This Court has jurisdiction over this action under 28 U.S.C. § 1332(a)(3)
                 5        because the amount in controversy is more than $75,000, and this action is between
                 6        Mr. Smagin, a citizen of a foreign country, and Mr. Yegiazaryan, a resident of
                 7        California. This Court also has supplemental jurisdiction under 28 U.S.C. §1367(a)
                 8        over the claims against CTX, the recipient of the fraudulent transfer and current holder
                 9        of the fraudulently transferred property, because those claims are so related to claims
               10         in the action within the Court’s original federal question jurisdiction (confirmation
               11         and enforcement of the London Award under the New York Convention) that they
               12         form part of the same case or controversy. Supplemental jurisdiction over CTX in this
               13         proceeding to set aside the fraudulent transfer CTX received is essential to prevent
               14         Mr. Yegiazaryan’s efforts to avoid this Court’s original Judgment and to give effect to
               15         this Court’s Judgment in the original action against Mr. Yegiazaryan.
               16                 9.      This Court has personal jurisdiction over Mr. Yegiazaryan because he
               17         resides in the state of California. This Court has personal jurisdiction over CTX
               18         because, among other California contacts, (1) a CTX representative travelled to and
               19         met with Mr. Yegiazaryan in California for the purpose of concluding the trust
               20         arrangements at issue in this action,(2) CTX solicited trust business from a California
               21         resident, (3) CTX purposefully directed its trust administration activities at a
               22         California resident, (4) CTX created continuing contractual obligations between itself
               23         and a resident of this state, and (5) CTX purposefully derived and continues to derive
               24         benefit from activities in California.
               25                 10.     Venue is appropriate in the Western Division of the Central District of
               26         California because Mr. Yegiazaryan’s residence is in Los Angeles County, California,
               27         and the wrongful acts were initiated and carried out by Mr. Yegiazaryan through acts
               28         and communications initiated in Los Angeles County, California.
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                 1                                       GENERAL ALLEGATIONS
                 2        The London Award and Arbitration Proceedings
                 3                11.     On November 11, 2014, an arbitration panel duly constituted under the
                 4        Rules of the London Court of International Arbitration rendered its final award in
                 5        Vitaly Ivanovich Smagin, Claimant, v. Kalken Holdings Limited and Ashot
                 6        Yegiazaryan, Defendants, LCIA Case No. 101721.3 The Arbitration was conducted in
                 7        London, UK, during the periods of September 23 through 27, 2013, January 14, 2014,
                 8        and April 15, 2014. The final award was issued on November 11, 2014 (defined
                 9        above as the “London Award”). The London Award is a foreign arbitral award
               10         covered by the New York Convention because the place of arbitration and the place of
               11         the award is London, UK.
               12                 12.     The arbitration against Mr. Yegiazaryan arose out of a series of disputes
               13         relating to the investment in and operation of a retail complex in Moscow and a
               14         related venture involving the financing of the refurbishment of a Moscow hotel.
               15                 13.     In the London Award, the arbitration panel awarded damages in favor of
               16         Mr. Smagin, and against Mr. Yegiazaryan, in the total amount of $84,290,064.20
               17         (with interest at the annual rate of eight (8) percent, compounded quarterly, on the
               18         amount of $79,142,701.32, from November 11, 2014 until paid).
               19                 14.     Pursuant to Article 26.9 of the LCIA Rules: ‘‘All awards shall be final
               20         and binding on the parties. By agreeing to arbitration under these Rules, the parties
               21         undertake to carry out any award immediately and without any delay (subject only to
               22         Article 27); and the parties also waive irrevocably their right to any form of appeal,
               23         review or recourse to any state court or other judicial authority, insofar as such waiver
               24         may be validly made.” The London Award was thus final and immediately due
               25
               26
                          3
               27          Kalken Holdings Limited, a company existing under the laws of Cyprus and
                          controlled by Mr. Yegiazaryan, was also a respondent in the Arbitration. The London
               28         Award was issued jointly and severally as to both respondents, but confirmation was
                          sought in this Court only as to Mr. Yegiazaryan.
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                 1        payable to Mr. Smagin. Nevertheless, Mr. Yegiazaryan has at all times up to the
                 2        present refused to make payment on this award.
                 3        The Petition to Confirm and Original Injunctive Relief
                 4                15.     On December 22, 2014, Mr. Smagin filed a petition with this Court to
                 5        confirm the London Award and enter judgment against Mr. Yegiazaryan under the
                 6        New York Convention.
                 7                16.     At the time of filing the Petition for Confirmation, Mr. Smagin also
                 8        sought and received preliminary injunctive relief against Mr. Yegiazaryan based on
                 9        Mr. Yegiazaryan’s acknowledged pattern and practice of concealing beneficial
               10         ownership of assets by holding them in the name of foreign nominee persons or
               11         companies. Indeed, much of the basis of the London Award rests upon Mr.
               12         Yegiazaryan’s past acts to conceal and misappropriate assets from Mr. Smagin
               13         through the use of entities in foreign jurisdictions, including in Cyprus and the British
               14         Virgin Islands.
               15                 17.     In his application for injunctive relief, Mr. Smagin advised this Court of
               16         one asset in particular that was a likely source of enforcement/satisfaction of the
               17         London Award. Namely, Mr. Yegiazaryan was the recipient of a substantial
               18         arbitration award in an unrelated arbitration against fellow Russian businessman
               19         Suleyman Kerimov (the “Kerimov Award”). At the time Mr. Smagin discovered the
               20         existence of the Kerimov Award, the funds had not yet been paid to Mr. Yegiazaryan,
               21         but past experience suggested that Mr. Yegiazaryan was likely to transfer the proceeds
               22         of the Kerimov Award into some nominee relationship in a foreign country in order to
               23         avoid his payment obligations to Mr. Smagin under the London Award when those
               24         funds were ultimately received.
               25                 18.     On December 23, 2014, this Court granted Mr. Smagin’s application for
               26         a temporary protective order, finding that “based on Petitioner’s previous dealings
               27         with Respondent and on the evidence submitted with the application, the Court finds
               28         that Petitioner will suffer great and irreparable injury if issuance of the orders delayed
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                 1        until the matter may be heard on notice. Accordingly, the Court will issue a
                 2        Temporary Protective Order.” However, notwithstanding Mr. Smagin’s request for
                 3        restraint against transfer of assets anywhere, the Court limited the relief to Mr.
                 4        Yegiazaryan’s assets in California.
                 5                19.     The Temporary Protective Order provided that “Respondent Ashot
                 6        Yegiazaryan, his agents, and/or any person or entity acting under his direction and
                 7        control shall not take any action to transfer, assign, conceal, diminish, or dissipate any
                 8        property located in California―in an amount up to $84,290,064.20―that may be used
                 9        to satisfy the foreign-arbitral award payable to Vitaly Smagin, including specifically
               10         and without limitation the amounts received or to be received by Respondent
               11         Yegiazaryan, his agents or any person or entity acting under his direction and
               12         control in payment or satisfaction of an arbitration award from Suleyman
               13         Kerimov.”
               14                 20.         On February 10, 2015, the Court granted a stipulation of the parties to
               15         stay the confirmation proceedings pending the outcome of challenges to the London
               16         Award that Mr. Yegiazaryan had raised in the London High Court (and that have since
               17         been rejected entirely). The parties also stipulated, and the Court ordered, that a
               18         preliminary injunction on the same terms as the Temporary Protective Order remain in
               19         place. This injunction again referred specifically to the Kerimov Award proceeds and
               20         again enjoined Mr. Yegiazaryan from any actions to diminish or conceal those
               21         proceeds (again limited to California).
               22                 21.     On July 9, 2015, the London High Court decisively rejected Mr.
               23         Yegiazaryan’s challenges to the London Award. As a result of the conclusion of the
               24         London High Court proceedings, the stay of confirmation proceedings before this
               25         court automatically expired.
               26         The Worldwide Preliminary Injunction
               27                 22.     Later in the summer of 2015, Mr. Smagin began receiving information
               28         indicating that Mr. Yegiazaryan had either settled or was in the process of settling the
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                 1        Kerimov Award for a large cash payment―the same award referenced in the
                 2        stipulated preliminary injunction, the proceeds of which (within California) Mr.
                 3        Yegiazaryan was not to conceal or dissipate by order of this Court. Mr. Smagin also
                 4        learned that Mr. Yegiazaryan had taken steps to enforce the Kerimov Award in
                 5        Cyprus. Thus, on September 2, 2015, Mr. Smagin’s Cypriot counsel obtained leave of
                 6        the Cyprus court to search the court files for evidence of a settlement. Eventually,
                 7        counsel was able to review documents confirming that on May 26, 2015, Mr.
                 8        Yegiazaryan asked for leave of the Cyprus court to withdraw his application to
                 9        enforce the Kerimov Award on the basis that the matter had been “settled out of
               10         court.”
               11                   23.   Based on this information, Mr. Smagin applied to this Court for a
               12         worldwide preliminary injunction restraining Mr. Yegiazaryan from concealing or
               13         dissipating the proceeds of the Kerimov Award and Settlement. This was an
               14         extension and expansion of the California freeze, which remained at all times in
               15         effect.
               16                   24.   By order of September 18, 2015, this Court, granted Mr. Smagin’s
               17         motion for an expanded preliminary injunction accompanied by expedited discovery.
               18         The Court stated: “Plaintiff believes on good authority that Defendant Yegiazaryan
               19         has secured a $100 million settlement in an unrelated case. Afraid that Defendant
               20         Yegiazaryan will attempt to conceal the proceeds of the settlement, Plaintiff asks this
               21         Court to issue an expanded pulmonary injunction to prevent Yegiazaryan’s
               22         concealment of assets worldwide.” This Court concluded: “The evidence
               23         demonstrates that Plaintiff Smagin will suffer irreparable harm if the current
               24         injunction is not expanded to encompass Defendant Yegiazaryan’s worldwide reach. .
               25         . . Plaintiff Smagin has provided this Court with testimony from Defendant
               26         Yegiazaryan himself where he admits to using nominees and offshore companies to
               27         conceal his assets.”
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                 1                25.     Accordingly, this Court issued a worldwide injunction enjoining and
                 2        preventing Mr. Yegiazaryan from transferring, concealing, diminishing or dissipating
                 3        property in an amount up to $84,290,064.20. This injunction again included and
                 4        specifically referenced the funds received in satisfaction of the Kerimov Award.4
                 5        The Judgment
                 6                26.     On March 17, 2016, this Court granted Mr. Smagin’s motion for
                 7        summary judgment on his petition for confirmation of the London Award. On March
                 8        31, 2016, entered judgment in favor of Mr. Smagin and against Mr. Yegiazaryan in
                 9        the amount of $92,503,652, which included interest to the date of judgment (defined
               10         above as the “Judgment”). See Exhibit A.
               11                 27.     The award and Judgment are fully due and payable. There are no legal
               12         challenges remaining to the substance of the London Award, as Mr. Yegiazaryan’s
               13         legal challenges have all been rejected. Moreover, while Mr. Yegiazaryan initially
               14         appealed this Court’s award confirmation and resulting Judgment to the Ninth Circuit
               15         Court of Appeals, in his recently-filed opening brief he abandoned all legal challenges
               16         to the award confirmation, and now pursues only his appeal of attorneys’ fees awarded
               17         against him for his bad faith refusal to pay the award and to impede confirmation.
               18         And in any event, the Ninth Circuit refused to stay enforcement of the Judgment
               19         pending Mr. Yegiazaryan’s appeal.
               20         Mr. Yegiazaryan’s Fraudulent Scheme to Conceal the Proceeds of the Kerimov
               21         Award
               22                 28.     Mr. Yegiazaryan at all times knew that there was a substantial likelihood
               23         that the London Award would be confirmed by this Court and that his London
               24         challenges to the award would be rejected (as they ultimately were). He also knew,
               25         based on the request for injunctive relief that accompanied the confirmation petition
               26         filed with this Court on December 22, 2014, that Mr. Smagin was well aware of the
               27         4
                           This order was later stayed by the Ninth Circuit pending Mr. Yegiazaryan’s appeal
               28         of the preliminary injunction and subsequently dissolved and the appeal dismissed
                          after this Court entered final judgment confirming the London Award.
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                 1        Kerimov Award, that proceeds from that award would be the likely best source for
                 2        payment of Smagin’s substantial award against Mr. Yegiazaryan, and that Mr. Smagin
                 3        was likely to take immediate enforcement efforts upon Mr. Yegiazaryan’s receipt of
                 4        those proceeds.
                 5                29.     Mr. Yegiazaryan had no intention of paying the London Award or of
                 6        allowing any of his assets to be subject to execution or enforcement. Instead, his plan,
                 7        consistent with historical practice, was to make sure any assets were concealed and
                 8        placed out of reach of Mr. Smagin. Mr. Yegiazaryan’s transfer of the proceeds of the
                 9        Kerimov Settlement to the Alpha Trust in Lichtenstein at issue in this action
               10         accomplished that purpose.
               11                 30.     Unbeknownst to Mr. Smagin, by the time he filed the September 2015
               12         application to this Court to expand the stipulated preliminary injunction to include
               13         worldwide assets, Mr. Yegiazaryan had already settled the Kerimov Award and had
               14         taken steps to conceal the proceeds and place them out of reach of Mr. Smagin by
               15         depositing them in the Alpha Trust.
               16                 31.     Mr. Smagin did not learn of these facts until February 9, 2016, when his
               17         ex parte application to intervene in Mr. Yegiazaryan’s Los Angeles Superior Court
               18         divorce proceedings was granted and Mr. Smagin was given access to documents
               19         improperly filed under seal in the divorce court.
               20                 32.     Review of these divorce court documents disclosed that while Mr.
               21         Smagin was pursuing enforcement of the London Award in this Court, in May 2015,
               22         Mr. Yegiazaryan settled the Kerimov Award for a substantial cash payment (defined
               23         above as the “Kerimov Settlement”). Mr. Yegiazaryan personally received $188
               24         million in proceeds from the Kerimov Settlement (the settlement amount net of
               25         attorneys’ fees and costs). Unfortunately, this Court’s prior orders did not stop Mr.
               26         Yegiazaryan from concealing the Kerimov Settlement. No doubt cognizant of the
               27         California injunction, Mr. Yegiazaryan did not accept payment of the Kerimov
               28         Settlement in California. Instead, as Mr. Smagin predicted, Mr. Yegiazaryan funneled
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                 1        the $188 million he received through his attorneys in London into a hastily formed
                 2        Lichtenstein trust over which he retained near complete control (defined above as the
                 3        “Alpha Trust”).
                 4                33.     The trustee of the Alpha Trust is CTX Treuhand AG, a Liechtenstein
                 5        corporation engaged in substantial trust services (defined above as “CTX”). CTX
                 6        solicited this trust business through substantial telephone and email negotiations with
                 7        Mr. Yegiazaryan in California. Moreover, Nicholas Wilhelm, one of the principals of
                 8        CTX, traveled to and met with Mr. Yegiazaryan in California in order to finalize
                 9        funding of the trust. Since the Alpha Trust was established and funded, CTX has had
               10         continuous communications with Mr. Yegiazaryan, the settlor and protector of the
               11         trust, in California for purposes of administration of the trust and for receiving
               12         instructions.
               13                 34.     The Alpha Trust was formed on May 27, 2015. It was funded just over a
               14         week later, after Nicholas Wilhelm travelled to California to meet with Mr.
               15         Yegiazaryan. On June 5, 2015, Mr. Yegiazaryan’s attorneys at Gibson Dunn, at Mr.
               16         Yegiazaryan’s request, transferred $188,146,102.08 into a bank account held by the
               17         Alpha Trust. These were the proceeds of the Kerimov Settlement, after a payment to
               18         Gibson Dunn for its representation of Mr. Yegiazaryan. Notably, the Kerimov
               19         Settlement was paid to Mr. Yegiazaryan personally—in other words it is his own
               20         personal asset. Interestingly, the trust formation and transfer of assets occurred just
               21         shortly before the London High Court rejected Mr. Yegiazaryan’s challenges to the
               22         London Award.
               23                 35.     Mr. Smagin learned about this duplicity only by closely monitoring
               24         Mr. Yegiazaryan’s California divorce proceedings, intervening in the case, and
               25         successfully moving to unseal documents filed in the case. These unsealed documents
               26         included a joint stipulation (the “Family Law Stipulation”), which had been
               27         improperly filed under seal. In July 2015, Mr. Yegiazaryan and his wife filed the
               28         Family Law Stipulation with the Los Angeles Superior Court, in which they
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                 1        confirmed that the $188 million Kerimov Settlement had been placed in a
                 2        Liechtenstein trust. They also confirmed that “the parties’ community estate has an
                 3        interest in the Kerimov settlement funds and other various awards in the LCIA and
                 4        other jurisdictions. The parties stipulate that their community interest in the Kerimov
                 5        settlement funds shall be used to satisfy community creditors and claimants.” Of
                 6        course, Mr. Smagin was and is one of those creditors. Yet Mr. Yegiazaryan had no
                 7        intention of using this money to pay him.
                 8                36.     Thus, when it served Mr. Yegiazaryan’s interest of placating his wife in
                 9        the divorce proceeding, he freely identified the Kerimov Settlement as a community
               10         asset that would be used to pay community creditors. In fact, Mr. Yegiazaryan told
               11         the Superior Court that payment of those creditors would be subject to court oversight
               12         and that he would execute such instructions as the court required in order to satisfy
               13         those obligations. Mr. Smagin is such a creditor, but when Mr. Smagin intervened in
               14         the divorce proceeding and stated his claim, Mr. Yegiazaryan fought that intervention
               15         and Mr. Yegiazaryan and his wife ultimately dismissed their divorce case to avoid
               16         having to satisfy Mr. Smagin’s award and Judgment as part of an ultimate divorce
               17         judgment. Despite dismissing the divorce, Mr. and Mrs. Yegiazaryan still live apart.
               18                 37.     There is similarly no doubt that Mr. Yegiazaryan set up the Alpha Trust
               19         in order to conceal his assets and (attempt) to place them outside this Court’s
               20         jurisdiction. When the existence of the Alpha Trust was revealed, Mr. Yegiazaryan
               21         tried to enter into a secret deal to placate his wife while continuing to hide his assets
               22         from real creditors. When Mr. Smagin became a fly in that ointment and unmasked
               23         the secret filing, Mr. Yegiazaryan and his wife decided to dismiss the public divorce
               24         proceedings and attempt to resolve their issues in private. Unfortunately for them,
               25         unsealing of the documents had already let the Lichtenstein cat out of the bag.
               26                 38.     Analysis of the settlement, related correspondence, and Alpha Trust
               27         documents show that Mr. Yegiazaryan wanted to hide his assets, but at the same time
               28         maintain control over them. In addition to being a beneficiary, Mr. Yegiazaryan is the
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                 1        settlor and protector of the Alpha Trust and must consent to distributions, consent to
                 2        beneficiaries, and even controls the investments made by the trust. Most strikingly,
                 3        Mr. Yegiazaryan retained the authority to dismiss and appoint trustees at will and
                 4        without any cause whatsoever. In other words, if the trustees do not do Yegiazaryan’s
                 5        bidding, he can immediately dismiss them and replace them with someone who will
                 6        (including himself).
                 7                39.     This scheme to fraudulently transfer the funds necessary to satisfy the
                 8        Judgment to the Alpha Trust where Mr. Yegiazaryan intends to keep them squirreled
                 9        away must be undone. Mr. Smagin seeks this Court’ assistance to undo this transfer
               10         so that he can collect the Judgment and finally receive payment for the harms he
               11         suffered more than a decade ago.
               12                                          FIRST CLAIM FOR RELIEF
               13                    (For Avoidance and Recovery of Intentional Fraudulent Transfer
               14                             and Other Relief, Cal. Civ. Code § 3439.04(a)(1))
               15                 40.     Mr. Smagin realleges and incorporates herein by reference each and
               16         every allegation set forth in paragraphs 1 through 39, inclusive, as set forth above.
               17                 41.     The above-mentioned transfer of the Kerimov Settlement proceeds into
               18         the Alpha Trust was done in anticipation of likely adverse rulings in Mr.
               19         Yegiazaryan’s London High Court challenges to the London Award and the
               20         confirmation proceedings before this Court, as part of a fraudulent scheme so that
               21         these proceeds would be out of Mr. Smagin’s reach and unavailable for him to collect
               22         in satisfaction of the Judgment.
               23                 42.     Mr. Yegiazaryan made the above-mentioned transfer of the Kerimov
               24         Settlement proceeds into the Alpha Trust with the intent to hinder, delay or defraud
               25         Mr. Smagin in collecting on his arbitration award and to prevent Smagin from
               26         recovering on the London Award and ultimate Judgment. So far, Mr. Yegiazaryan has
               27         succeeded.
               28
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                 1                43.     Yegiazaryan acted with fraud, oppression and malice as to Mr. Smagin
                 2        though his fraudulent concealment of his assets and his repeated and persistent refusal
                 3        to satisfy the London Award and the Judgment.
                 4                44.     Mr. Smagin has been damaged thereby in being unable to recover on the
                 5        London Award and the Judgment and by having to incur costs and expenses in
                 6        pursuing enforcement against Mr. Yegiazaryan, including the cost and expense of
                 7        seeking relief in this action and in proceedings in Lichtenstein that would have been
                 8        unnecessary had Mr. Yegiazaryan not completed the fraudulent transfer, and by the
                 9        loss of use of the funds he would have otherwise obtained long ago.
               10                 45.     The transfer of the Kerimov Settlement proceeds into the Alpha Trust
               11         was fraudulent as to Mr. Smagin under California Civil Code Section 3439.04(a)(1)
               12         and other applicable law.
               13                                         SECOND CLAIM OF RELIEF
               14                                  (For Common Law Fraudulent Conveyance)
               15                 46.     Smagin realleges and incorporates herein by reference each and every
               16         allegation set forth in paragraphs 1 through 45, inclusive, as set forth above.
               17                 47.     Mr. Yegiazaryan is liable for common law fraudulent conveyance as to
               18         Mr. Smagin by deliberately engaging in a scheme to transfer his personal assets (the
               19         Kerimov Settlement proceeds) into the Alpha Trust for the purpose of shielding those
               20         assets from collection in satisfaction of the London Award and the Judgment.
               21                 48.     Mr. Smagin has suffered damages and is likely to suffer additional
               22         damages resulting from Mr. Yegiazaryan’s conduct. Mr. Smagin is being hindered in
               23         recovering, or is unable to recover on, the London Award and resulting Judgment in
               24         this Court and is incurring, among other things, the loss of use of funds he could
               25         otherwise recover, along with the fees, costs and other expenses incurred in order to
               26         fight Mr. Yegiazaryan’s misconduct. At the same time, Mr. Yegiazaryan seeks to
               27         unjustly enrich himself by taking profits on the funds in the Alpha Trust.
               28
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                 1                49.     Mr. Yegiazaryan acted with fraud, malice and oppression as to Mr.
                 2        Smagin though his fraudulent concealment of his assets and his repeated and
                 3        persistent refusal to satisfy the London Award and the Judgment.
                 4                                                   PRAYER
                 5                WHEREFORE, Mr. Smagin prays for relief as follows:
                 6                A.      For entry of an order:
                 7                            a. Avoiding the transfer of the Kerimov Settlement proceeds into the
                 8                               Alpha Trust in an amount necessary to satisfy the London Award
                 9                               and the Judgment -- $92,503,652, plus all interest, costs, and
               10                                attorney’s fees incurred prior to the date of full satisfaction of the
               11                                London Award and Judgment;
               12                             b. Requiring Mr. Yegiazaryan and CTX, as trustee of the Alpha
               13                                Trust, to take all steps necessary to effectuate the transfer from the
               14                                Alpha Trust of the full amount of funds necessary to satisfy the
               15                                London Award and the Judgment -- $92,503,652, plus all interest
               16                                costs, and attorneys’ fees incurred prior to the date of full
               17                                satisfaction of the London Award and Judgment―into the name of
               18                                Mr. Yegiazaryan in a California account to be approved by the
               19                                Court;
               20                             c. Requiring Mr. Yegiazaryan and CTX, as trustee of the Alpha
               21                                Trust, to report in writing to the Court and to Mr. Smagin, of all
               22                                steps being taken to carry out the terms of the Court’s order in (a)
               23                                and (b) above;
               24                             d. Requiring Mr. Yegiazaryan to exercise his power as Protector of
               25                                the Alpha Trust to dismiss CTX and appoint new trustees,
               26                                approved by the Court, who will follow Mr. Yegiazaryan’s
               27                                instructions to effectuate this Court’s orders, in the event CTX fails
               28                                to do so.
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                 1                            e. After the funds are transferred, authorizing Mr. Smagin to levy
                 2                               execution on such transferred amounts as necessary to satisfy the
                 3                               London Award and the Judgment -- $92,503,652, plus all interest,
                 4                               costs, and attorneys fees incurred prior to the date of full
                 5                               satisfaction of the arbitral award and the judgment of this Court
                 6                               confirming that award;
                 7                B.      For an accounting of Mr. Yegiazaryan’s assets, including specifically a
                 8        tracing of the funds from the Kerimov Settlement and all funds moving into or out of
                 9        the Alpha Trust at any time since its inception;
               10                 C.      For the establishment of a constructive trust on the proceeds of the
               11         Kerimov Settlement that were transferred into the Alpha Trust and all proceeds
               12         thereof, such that these assets shall be held in trust for the benefit of Mr. Smagin until
               13         full satisfaction of the London Award and the Judgment -- $92,503,652, plus all
               14         interest, costs, and attorneys fees incurred prior to the date of full satisfaction of the
               15         London Award and Judgment;
               16                 D.      For preliminary and permanent injunctions enjoining Defendants and all
               17         those acting under their direction or control from any actions, including but not
               18         limited to distributions, dissipations or any other diminishment of the assets of the
               19         Alpha Trust as well as any changes to the Alpha Trust documents or any other actions
               20         which may endanger Mr. Smagin’s right to collect the full sum of the London Award
               21         and the Judgment -- $92,503,652, plus all interest, costs, and attorneys fees incurred
               22         prior to the date of full satisfaction of the London Award and Judgment, or that in any
               23         way diminish Mr. Yegiazaryan’s rights in the Alpha Trust;
               24                 E.      For an award of compensatory damages to Mr. Smagin to compensate
               25         him for the harm caused by Mr. Yegiazaryan’s wrongful actions;
               26                 F.      For an award of punitive and exemplary damages in an amount sufficient
               27         to punish Mr. Yegiazaryan’s improper conduct and deter such conduct in the future;
               28
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                 1                G.      For an award of all costs incurred by Mr. Smagin herein and in related
                 2        proceedings to enforce the London Award and the Judgment confirming that award;
                 3                H.      For an award of all attorney’s fees incurred by Mr. Smagin herein and in
                 4        related proceedings to enforce the London Award and the Judgment confirming that
                 5        award;
                 6                I.      For an award of pre-and post-judgment interest on all amounts awarded;
                 7                J.      For any and all such other and further relief as may be just and proper,
                 8        including but not limited to any and all relief that may be available under or permitted
                 9        by California Civil Code sections 3439.01 et. seq., or any other applicable law.
               10
               11         Dated: August 18, 2017                       BAKER & MCKENZIE LLP
               12
               13                                                      By:/s/ Bruce H. Jackson
                                                                          Bruce H. Jackson
               14                                                         Attorneys for Plaintiff
                                                                          VITALY IVANOVICH SMAGIN
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